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                                                                                 2016 Jun-23 AM 11:20
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

ADTRAV CORPORATION,                 )
                                    )
        Plaintiff,                  )
                                    )
v.                                  ) CV 2-14-CV-0056-TMP-S
                                    )
DULUTH TRAVEL, INC.,                )
                                    )
     Defendant and Plaintiff        )
     in Counterclaim.               )
__________________________________________________________________

    DULUTH TRAVEL INC.’S FIRST AMENDED COUNTERCLAIM
__________________________________________________________________

        COMES NOW Duluth Travel, Inc. (hereafter “Duluth”), and submits this,

its First Amended Counterclaim in order to conform Duluth’s original

Counterclaim to the evidence uncovered during discovery in this action. Duluth

hereby amends its Counterclaim to add and include the following allegations:

                          AMENDMENTS TO_COUNT ONE
                        BREACH OF THE 2005/2006 CONTRACT

                                         21.

       Duluth incorporates the allegations contained in its original Counterclaim as

if fully set forth herein.



                                         22.


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      Duluth contracted with Plaintiff ADTRAV Corporation (“Plaintiff” or

“ADTRAV”) and paid ADTRAV considerable amounts of money to compile and

maintain accurate and complete financial records with regard to one hundred

percent of all revenue generated and collected pursuant to the Parties’ Agreements

regarding Duluth’s prime contracts with the Veterans Administration (“VA”) for

travel services.

                                          23.

      Pursuant to the Agreements, Duluth paid ADTRAV to accurately report all

revenue referenced in paragraph 22 herein. Because of ADTRAV’s failure to

report the income in breach of its agreements with Duluth, Duluth was deprived of

the income that it had earned under its contract with the VA.

                                          24.

      During the course of discovery in this action, Duluth has learned that Plaintiff

breached its contractual obligations as set forth in paragraphs 22 and 23 herein.

                                          25.

       Duluth has been damaged by Plaintiff’s breaches of contract as alleged herein.

      WHEREFORE, Duluth prays for the following additional relief against

ADTRAV under Count One of its Counterclaim;

      (a) For judgment for damages arising from Plaintiff’s breaches in an amount to

          be proven at trial;


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       (b) For accrued interest on said damages;

       (c) For attorneys’ fees and costs and expenses through the date of judgment;

            and

       (d) For all such other and further relief as this Court deems just and

            appropriate.

                            AMENDMENTS TO COUNT TWO
                           BREACH OF THE 2010 CONTRACT

                                         26.

       Duluth incorporates the allegations contained in its original Counterclaim as

if fully set forth herein.

                                         27.

       Duluth contracted with ADTRAV and paid ADTRAV considerable amounts

of money to compile and maintain accurate and complete financial records with

regard to one hundred percent of all revenue generated and collected pursuant to the

Parties’ Agreements regarding Duluth’s prime contracts with the VA for travel

services.

                                         28.

       Pursuant to the Agreements, Duluth paid ADTRAV to accurately report all

revenue referenced in paragraph 27 herein.




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                                          29.

       During the course of discovery in this action, Duluth has learned that Plaintiff

breached its contractual obligations as set forth in paragraphs 27 and 28 herein.

                                          30.

       Duluth has been damaged by Plaintiff’s breaches of contract as alleged herein.

       WHEREFORE, Duluth prays for the following additional relief against

ADTRAV under Count Two of its Counterclaim;

          (a) For judgment for damages arising from Plaintiff’s breaches in an

          amount to be proven at trial;

          (b) For accrued interest on said damages;

          (c) For attorneys’ fees and costs and expenses through the date of

          judgment; and

          (d) For all such other and further relief as this Court deems just and

          appropriate.

                  AMENDMENTS TO COUNT THREE
        FRAUD AS TO BOTH THE 2005/2006 AND 2010 CONTRACTS

                                          31.

       Duluth incorporates the allegations contained in its original Counterclaim as

if fully set forth herein.




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                                         32.

      Plaintiff owed a fiduciary duty to Duluth to compile and maintain accurate and

complete financial records with regard to one hundred percent of all revenue

generated and collected pursuant to the Parties’ Agreements regarding Duluth’s

prime contracts with the VA for travel services.

                                         33.

      Plaintiff owed a fiduciary duty to Duluth to accurately report all revenue

referenced in paragraphs 22, 23, 27 and 28 herein, but diverted revenue and did not

provide Duluth with accurate information.

                                         34.

      During the course of discovery in this action, Duluth has learned that

ADTRAV committed fraud/deceit and suppressed material facts by breaching its

fiduciary duties to Duluth as set forth in paragraphs 32 and 33 herein by

misrepresenting the true amount of revenue earned under Duluth’s contracts with the

VA. By way of example, ADTRAV misrepresented and/or concealed the true

amounts of revenue earned under Duluth’s contract with the VA by misclassifying

and/or underreporting commissions and suppressed the true amounts of revenue

earned under Duluth’s contract with the VA, thereby diverting and keeping income

that should have been paid to Duluth.




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                                         35.

      Plaintiff’s breaches of fiduciary duty to Duluth amount to fraud (in that they

encompass misrepresentations knowingly or recklessly made, relied upon by Duluth,

and which resulted in damage to Duluth) and suppression in that ADTRAV owed

Duluth a duty to disclose the true amounts of revenue generated by Duluth’s contract

with the VA, but concealed and/or misrepresented those amounts.

                                         36.

      In each instance in which ADTRAV sent a report to Duluth that

misrepresented the amount of revenue, misclassified revenue, underreported revenue,

or otherwise suppressed the true amounts of revenue earned under Duluth’s

2005/2006 and/or 2010 VA Contract, Duluth relied on those representations to its

detriment in that ADTRAV diverted income that should have been paid to Duluth.

                                         37.

      Duluth has been damaged by Plaintiff’s fraud, misrepresentations, and

breaches of duty/suppression as alleged herein.

      WHEREFORE, Duluth prays for the following additional relief against

Plaintiff ADTRAV under Count Three of its Counterclaim;

         (a) For judgment for damages in an amount to be determined by the

         enlightened conscience of an impartial jury;

         (b) For accrued interest on said damages;


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        (c) For punitive damages; and

        (d) For all such other and further relief as this Court deems just and

        appropriate.

                                      Respectfully submitted,


                                      /s/ D. Michael Sweetnam
                                      D. MICHAEL SWEETNAM
                                      KYLE W. BRENT
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have filed a copy of the foregoing using the Court’s
CM/ECF electronic filing system which will serve a copy upon the following
counsel of record on this the 23rd day of June, 2016:

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                                     /s/ Jim H. Wilson
                                     OF COUNSEL




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